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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
_______________________________
                                )
UNITED STATES OF AMERICA, )
                                )
                Plaintiff,      )
v.                              )    Civil Action No.:
                                )
COBB COUNTY,                    )
GEORGIA                         )
                                )
                Defendant.      )
_______________________________)

                                       COMPLAINT

      Plaintiff, the United States of America (“United States”), alleges:

      1.     This action is brought on behalf of the United States to enforce Title

VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title

VII”). As set forth more fully below, the United States alleges that Defendant

Cobb County, Georgia (“Cobb County”) through its agent, the Cobb County Fire

Department (“CCFD”), has used a written examination and credit check in its

hiring process for firefighter positions at CCFD. Through the use of these

screening devices, Defendant has engaged in a pattern or practice of employment

discrimination against African Americans in its selection procedure for firefighter

positions in violation of Title VII.

      2.     All conditions precedent to the filing of suit have been satisfied.
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                           JURISDICTION AND VENUE

       3.     This Court has jurisdiction of this action under 42 U.S.C. § 2000e-

6(b) and 28 U.S.C. §§ 1331, 1343(a)(3), and 1345.

       4.     Venue is proper in the United States District Court for the Northern

District of Georgia pursuant to 28 U.S.C. § 1391 because Defendant is located in

this judicial district and all or a substantial part of the acts or omissions giving rise

to this cause of action took place in this judicial district.

                                       PARTIES

       5.     Plaintiff is the United States of America.

       6.     Cobb County is a governmental entity and/or political subdivision

created pursuant to the laws of the state of Georgia.

       7.     Cobb County is a “person” within the meaning of 42 U.S.C. §

2000e(a) and an “employer” within the meaning of 42 U.S.C. § 2000e(b).

       8.     The United States, through the United States Department of Justice,

has conducted an investigation of the policies and practices of Cobb County with

respect to its screening and selection of candidates for the firefighter position at

CCFD and the discriminatory effect of such practices on African-American

candidates. The Department of Justice has notified Cobb County of that

investigation and of the United States’ determination.



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                             FACTUAL ALLEGATIONS

A.     CCFD’s Firefighter Selection Process

       9.       Cobb County maintains the CCFD and, through it, employs

firefighters who, among other things, are responsible for providing fire, rescue, and

emergency services in Cobb County.

       10.      Cobb County is responsible for the recruitment and hiring of CCFD

firefighters.

       11.      Cobb County is responsible for establishing the terms, conditions, and

other practices that bear upon the selection and employment of CCFD firefighters.

       12.      Since at least 2016, CCFD has used a multi-step process to select

firefighters. Among other screening devices, this multi-step hiring process has

included the use of scores from a written examination and also the use of a credit

check.

       13.      As of October 6, 2021, CCFD employed approximately 352

individuals at the firefighter rank: 275 of these firefighters (78.1%) are White,

while 46 of these firefighters (13.1%) are African American.

       14.      Between 2016 and 2020, approximately 2,075 Whites and 1,974

African-Americans applied for firefighter positions at CCFD. Of these 4,049

applicants, 51.2% are White and 48.8% are African-American.



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      15.     Between 2016 and 2020, CCFD hired approximately 225 White

firefighters, and hired 61 African-American firefighters. Of these 286 hires, 78.7%

are White and only 21.9% are African American.

B.    The Challenged Employment Practices

      i. CCFD’s Use of the ACCUPLACER Written Exam

      16.     In 2020, CCFD began using the ACCUPLACER exam, a written

examination developed by the Technical College System of Georgia, as part of its

hiring process. Upon information and belief, CCFD administers the

ACCUPLACER exam at least once every six months to firefighter candidates

seeking a firefighter position.

      17.     The ACCUPLACER was developed by the Technical College System

of Georgia to identify the appropriate course level for college students. It was not

created to screen candidates for a firefighter position. Documentation related to

the ACCUPLACER’s ability to place students in course levels for their respective

ability levels contains no information that performance on the test approximates

the tasks performed as a CCFD firefighter or that performance on the test

correlates with performance on the job as a firefighter or in the academy.

      18.     The ACCUPLACER exam consists of three sections: (1) Reading; (2)

Writing; and (3) Mathematics. Candidates can receive up to 300 points on each

subsection.

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      19.     Candidates must pass each of the three sections of the exam. To pass

the exam, a candidate must achieve a score of 224 points on the Reading section, a

score of 236 on the Writing section, and a score of 229 on the Mathematics section.

      20.     Candidates who pass the written exam are eligible to take the physical

agility test (“PAT”).

            ii. Rank-Order Use of ACCUPLACER Written Exam Scores in 2020

      21.     During its first hiring process with the ACCUPLACER exam in 2020,

CCFD placed all candidates who passed the ACCUPLACER and the PAT on an

eligibility list in order of their overall ACCUPLACER score, with additional points

available to candidates with an honorary military discharge, certain educational

achievements, and valid firefighter and EMT certifications. CCFD then invited the

highest-scoring/top-ranked candidates to move forward in the hiring process.

      22.     While the majority of individuals who took the ACCUPLACER exam

in 2020 passed it, many candidates ranked too low on the eligibility list based on

their scores to have a chance to be hired.

      23.     African-American candidates had lower average ranks on the 2020

eligibility list than White candidates. The disparity in the average ranks is

statistically significant, and the difference is greater than 2 to 3 units of standard

deviation.



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      24.    Considering only those candidates on the eligibility list who not only

passed the ACCUPLACER written exam but also scored high enough to be

reached for further processing (i.e., scored at least as high as the last candidate

reached on the eligibility list for further processing) as having effectively passed

the ACCUPLACER exam, African-American candidates in 2020 had a lower

effective passing rate than White candidates. The disparity between the effective

pass rate for African-American candidates and White candidates was statistically

significant, and the difference is greater than 2 to 3 units of standard deviation.

      25.    While approximately 319 White candidates and 249 African-

American candidates passed the 2020 ACCUPLACER exam, none of the 21

candidates ultimately selected for the academy are African American, while 20 of

the 21 selected candidates are White.

      26.    Beginning in early 2021, CCFD no longer ranked candidates based on

total ACCUPLACER score. Instead, CCFD randomly selected 50 candidates who

passed both the ACCUPLACER and the PAT to move forward in the hiring

process using a computer program that sets a list of items in random order (known

as a “randomizer”).

      27.    Using the randomizer resulted in a commensurate number of African

Americans being chosen to move forward in the process as those who had applied

for the position.

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            iii.         CCFD’s Use of a Credit Check as Part of Its Selection Process

      28.          Since at least 2016, Cobb County has used a credit check in its hiring

process for firefighter positions at CCFD.

      29.          From at least 2016 to 2020, candidates for appointment to CCFD

firefighter positions had to pass the credit check portion of the selection process to

be hired. CCFD developed the criteria used to determine which candidates pass

the credit check.

      30.          From at least 2016 to 2020, African-American candidates passed the

credit check at a lower rate than White candidates. The difference between the pass

rates of White and African-American candidates on the credit check is statistically

significant, and the difference is greater than 2 to 3 units of standard deviation.

      31.          Based on information and belief, Cobb County has not engaged in any

study that establishes a connection between credit history and job performance or

character.

             UNITED STATES’ PATTERN OR PRACTICE CLAIMS

                                     COUNT I
                         Title VII, 42 U.S.C. § 2000e-2(a)
             Rank-Order Use of the ACCUPLACER Written Exam Scores

      32.          Plaintiff United States re-alleges and incorporates herein by reference

paragraphs 1-31.



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      33.    Cobb County’s use of the ACCUPLACER exam in 2020 as a rank-

order screening device resulted in a disparate impact on African-American

candidates for firefighter positions at CCFD, is not job-related for the position in

question, is not consistent with business necessity, and otherwise does not meet the

requirements of Section 703(k) of Title VII, 42 U.S.C. § 2000e-2(k).

      34.    As a result of its rank-order use of the ACCUPLACER exam, CCFD

hired fewer African-American candidates as CCFD firefighters than it would have

had it used a non-discriminatory screening device.

      35.    The Attorney General has reasonable cause to believe that Cobb

County has engaged in a pattern or practice of discrimination against African-

American firefighter candidates in violation of Title VII, 42 U.S.C. § 2000e-2(a).

The policies and practices of Cobb County outlined in paragraphs 16 through 27

constitute a pattern or practice of resistance to the full enjoyment by African

Americans of the rights protected by Title VII. Under Section 707 of 42 U.S.C.

§ 2000e-6(a), the United States brings a civil action requesting relief.

                                      COUNT II
                          Title VII, 42 U.S.C. § 2000e-2(a)
                               Use of the Credit Check

      36.    Cobb County’s use of a credit check as a screening device from at

least 2016 to 2020 has resulted in a disparate impact on African-American

candidates for firefighter positions at CCFD, is not job-related for the position in

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question, is not consistent with business necessity, and otherwise does not meet the

requirements of Section 703(k) of Title VII, 42 U.S.C. § 2000e-2(k).

      37.        As a result of its credit check, CCFD has hired fewer African-

American candidates as CCFD firefighters than it would have had it used a non-

discriminatory screening device.

      38.        The Attorney General has reasonable cause to believe that Cobb

County has engaged in a pattern or practice of discrimination against African-

American firefighter candidates in violation of Title VII, 42 U.S.C. § 2000e-2(a).

The policies and practices of Cobb County outlined in paragraphs 28 through 31

constitute a pattern or practice of resistance to the full enjoyment by African

Americans of the rights protected by Title VII. Under Section 707 of 42 U.S.C.

§ 2000e-6(a), the United States brings a civil action requesting relief.

                                PRAYER FOR RELIEF

      WHEREFORE, the United States prays that the Court order Defendant Cobb

County, and its officers, agents, employees, successors, and all persons in active

concert or participation with them, to:

            a.      refrain from using written examinations and credit checks to screen

                    and select candidates for CCFD firefighter positions where such

                    use results in a disparate impact on African Americans, is not job-

                    related for the position in question and consistent with business

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                necessity, and does not otherwise meet the requirements of Section

                703(k) of Title VII, 42 U.S.C. § 2000e-2(k);

         b.     provide make whole remedial relief to all persons who have

                suffered individual loss as a result of the discrimination alleged in

                this Complaint; and

         c.     adopt other appropriate nondiscriminatory measures to correct the

                present effects of its discriminatory policies and practices,

                including the use of firefighter selection procedures that comply

                with Title VII.

      Plaintiff United States prays for such additional relief as justice may require,

together with its costs and disbursements in this action.


Dated: May 8, 2024



Respectfully submitted,

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